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      JOHN R. MORTON, JR.
      110 Marter Avenue
      Suite 301
      Moorestown, NJ 08057
      (856)866-0100
      Attorney for Jaguar Credit Corporation
      JM5630___________________________                              UNITED STATES
                                                                     BANKRUPTCY COURT FOR
                                                                     THE DISTRICT OF NEW
                                                                     JERSEY
      IN RE:
      SHAPES L.L.C.                                                  CHAPTER 11
                                                                     CASE NO: 08-14632(GMB)
                                                                     HEARING DATE:

                                                                     CERTIFICATION OF
                                                                     SERVICE

      JOHN R. MORTON, JR., attorney for Jaguar Credit Corporation hereby certifies as
      follows:

           1. I am the attorney for Jaguar Credit Corporation and am fully familiar with the

               facts of this case.

           2. On 4/14/2008           , I mailed by regular mail a copy of the notice of motion, certification in

               support of motion and order to the following individuals:

                       Shapes L.L.C.
                       9000 River Road
                       Delair, NJ 08110
                       Debtors

                       Jerrold N. Poslusny, Jr., Esq.
                       Liberty View, Suite 300
                       457 Haddonfield Road
                       Cherry Hill, NJ 08002
                       Attorney for the debtors

                       Office of the US Trustee
                       One Newark Center
                       Suite 2100
                       Newark, NJ 07102
                       Trustee


                       CONTINUED
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        Michael D. Sirota, Esq.
        25 Main Street
        Hackensack, NJ 07601
        Attorney for the Official Joint Committee of Unsecured Creditors



                                        CERTIFICATION

        I hereby certify that the foregoing statements made by me are true. I am aware that if

        any of the statements made by me are willfully false, I am subject to punishment.


                                                         /s/ John R. Morton, Jr.
                                                         JOHN R. MORTON, JR.
                                                         Attorney for Jaguar Credit Corporation
